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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 18-1960 JVS (JDEx)                                      Date   June 17, 2019

 Title             Timothy T. Merritt Jr., et al. v. Wells Fargo Bank


 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           (IN CHAMBERS) Order Regarding Motion to Dismiss

      The Court, having been informed by the parties in this action that they submit
on the Court’s tentative ruling previously issued, hereby rules in accordance with
the tentative ruling as follows:

      Defendant Wells Fargo Bank, N.A., sued erroneously as “Wells Fargo Bank,”
(“Wells Fargo”) moved to dismiss Plaintiffs Timothy T. Merritt, Jr. (“Merritt”) and Cathy
Mitchell’s (“Mitchell”) (together, “Plaintiffs”) Second Amended Complaint (“SAC”)
under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. MTD, Docket
No. 36. Plaintiffs filed an opposition. MTD Opp’n, Docket No. 39. Wells Fargo replied.
MTD Reply, Docket No. 40. Plaintiffs filed supplemental authority in support of their
opposition. Docket No. 45.

      For the following reasons, the Court grants in part and denies in part the motion
to dismiss.

                                                    I. BACKGROUND

       The SAC alleges the following. In July 2017, Merritt and his mother, Mitchell,
went to the Wells Fargo branch located at 18712 Gridley Road, Cerritos, California
90703 (“Cerritos Branch”), and met with a personal banker named Joseph. SAC, Docket
No. 35 ¶ 17. Merritt is a college student who graduated in the top 10% of his high school
class in June 2017. Id. ¶¶ 16, 20. Both Plaintiffs are of African-American descent. Id. ¶¶
9, 10. Merritt also suffers from a speech impediment which can make it difficult at times
for strangers to understand what he is saying. Id. ¶ 16. Therefore, Mitchell accompanied
Merritt to the bank to spare him the embarrassment and inconvenience of discussing his
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banking needs without her assistance. Id. ¶ 19. After discussion with Joseph, Merritt
opened a Wells Fargo checking account. Id. On another trip, with Wells Fargo’s
encouragement, Merritt opened a credit card account. Id.

      A few months later, as Merritt progressed in college, he was in need of
approximately $1,500 to purchase football equipment and video games he desired. Id. ¶
20. Therefore, on February 8, 2018, Plaintiffs went to the Cerritos Branch and asked to
speak with Joseph about obtaining a small personal loan for Merritt. Id. ¶ 21. Because
Joseph had to leave, he introduced Plaintiffs to another Wells Fargo employee, Angelique
Rodriguez (“Rodriguez”). Id.

      Immediately upon interacting with Rodriguez, Plaintiffs detected hostility,
impatience, intolerance, and distrust. Id. ¶ 22. Plaintiffs were able to detect implicit
signals of racial discrimination through their repeated experiences of discrimination in
the past. Id. Specifically, Plaintiffs detected discrimination based on Rodriguez’s facial
expression, body language, tone, language, and attitude. Id. Plaintiffs remained calm and
respectful as Mitchell tried to explain to Rodriguez what her sons needs were, but this
only further stoked Rodriguez’s discriminatory conduct. Id. ¶ 24. Merritt did in fact
answer some of Rodriguez’s questions up to that point in the interaction; however,
Rodriguez had made up her mind in deciding on how to proceed with Plaintiffs. Id.

       Rodriguez repeatedly interrupted Mitchell and began jabbing her fingers in
Mitchell’s face while sneering that she only wanted to speak with Merritt, the account
holder. Id. Rodriguez then began accusing Mitchell – in front of her son and loud enough
for others around them to hear – of abusing her “incompetent” son by using him to open a
credit line in his name so that she could steal the money for herself. Id. ¶ 25. When
Mitchell tried to explain that she was there to help her son, Rodriguez angrily responded,
“I don’t need to speak to you, Nigger.” Id. Rodriguez did not properly and fully complete
the loan application process for Merritt, and Wells Fargo refused to fully consider
Merritt’s loan request based on the color of his skin. Id. ¶ 27.

      Wells Fargo subsequently called the police to report and accuse Mitchell of
financially exploiting her “dependent” son. Id. Moreover, upon information and belief,
Wells Fargo informed California Child Protective Services and the Sheriff’s Department
that Mitchell tried to open the account in her own name, which is false. Id. ¶ 29. There
was no reason for Wells Fargo to call law enforcement on Mitchell, especially in light of
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the positive history Plaintiffs had, up to that point, with Wells Fargo. Id. ¶ 30. In a section
of the SAC entitled “Banking While Black at Wells Fargo,” Plaintiffs allege examples of
six other individuals who have been subject to racial discrimination at various Wells
Fargo branches. Id. ¶¶ 31–40.

       On September 21, 2018, Plaintiffs initiated this lawsuit in the Superior Court of
California for the County of Orange. Docket No. 1-1. On October 31, 2018, Wells Fargo
removed the action to this Court. Docket No. 1. On January 9, 2019, Plaintiffs filed their
First Amended Complaint (“FAC”). Docket No. 14. Wells Fargo moved to dismiss and
strike portions of the FAC on February 6, 2019. MTD, Docket No. 19; MTS, Docket No.
20. On March 15, 2019, the Court granted the motions in part. Docket No. 34. On April
15, 2019, Plaintiffs filed their SAC, alleging four causes of action: (1) violation of 42
U.S.C. § 1981; (2) violation of Unruh Civil Rights Act; (3) defamation; and (4)
defamation per se. SAC, Docket No. 35.

         Wells Fargo now moves to dismiss the SAC in its entirety. MTD, Docket No. 36-1.

                                      II. LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(b)(6), a defendant may move to dismiss
for failure to state a claim upon which relief can be granted. A plaintiff must state
“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 570 (2007). A claim has “facial plausibility” if the plaintiff
pleads facts that “allow[] the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009).

       In resolving a 12(b)(6) motion under Twombly, a court must follow a two-step
approach. Id. at 679. First, a court must accept all well-pleaded factual allegations as true,
but “[t]hread-bare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Id. at 677. Furthermore, a court must not “accept
as true a legal conclusion couched as a factual allegation.” Id. at 677–78 (quoting
Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded factual
allegations, a court must “determine whether they plausibly give rise to an entitlement to
relief.” Id. at 664. This determination is context-specific, requiring a court to draw on its
experience and common sense, but there is no plausibility “where the well-pleaded facts
do not permit the court to infer more than the mere possibility of misconduct.” Id.
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                                         III. DISCUSSION

A.       42 USC § 1981

       In pertinent part, section 1981 guarantees that “[a]ll persons . . . shall have the
same right . . . to make and enforce contracts . . . as is enjoyed by white citizens.” 42
U.S.C. § 1981(a). The statute defines “make and enforce contract” to include “the
making, performance, modification, and termination of contracts, and the enjoyment of
all benefits, privileges, terms, and conditions of the contractual relationship.” Id. §
1981(b). Thus, section 1981 forbids intentional, race-based discrimination in the making
of both public and private contracts. Evans v. McKay, 869 F.2d 1341, 1344 (9th Cir.
1989); Karim-Panahi v. Los Angeles Police Dep’t, 839 F.2d 621, 625 (9th Cir. 1988); see
also Gen. Bldg. Contractors Ass’n v. Pennsylvania, 458 U.S. 375, 389 (1982) (section
1981 “reaches only purposeful discrimination”). To state a claim under section 1981, “a
complaint must establish that: (1) a plaintiff is a member of a racial minority; (2) the
defendant had an intent to discriminate on the basis of race; and (3) the discrimination
concerned one or more of the activities enumerated in the statute, i.e., the making and
enforcing of a contract.” Hung Duong Nguon v. Geragos, No. CV 09-8912-PA (OP),
2011 WL
2173640, at *4 (C.D. Cal. Jan. 26, 2011) (citing Morris v. Office Max, Inc., 89 F.3d 411,
413 (7th Cir. 1996)).

       The SAC asserts a section 1981 claim only on Merritt’s behalf. SAC, Docket No.
35 ¶ 41–42. Plaintiffs argue that Merritt states a claim under section 1981 based on the
allegation that “Wells Fargo denied Merritt the opportunity to obtain a personal loan
solely because he is an African-American.” SAC, Docket No. 35 ¶ 45. Plaintiffs argue
that the allegation that Rodriguez used a racial epithet leaves no doubt as to her
discriminatory motives in preventing Merritt from entering a loan (i.e., a contract), taking
Plaintiffs’ allegations as true as the Court must do at this stage. Opp’n, Docket No. at 7.

       However, Wells Fargo argues that Plaintiffs’ allegations in the SAC are not enough
to establish the action’s second, critical element: intentional or purposeful discrimination
based on race. MTD, Docket No. 36-1 at 11. Wells Fargo argues that no facts in the SAC
support a plausible inference that Merritt’s race had anything to do with the denial of his
personal loan application. Id. Instead, Wells Fargo argues that the alleged facts
demonstrate reasonable, legitimate conduct by Rodriguez to not process the loan
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application because she had reasonable suspicion of financial abuse. Id. In weighing this,
Wells Fargo argues Plaintiffs’ allegations, even when combined with the use of the racial
epithet, cannot overcome the inference of legitimate conduct involving detection and
prevention of potential abuse of a dependent adult. Id.

       The Court finds that Merritt states a claim under section 1981. Merritt establishes
the first requirement because he is an African-American. SAC, Docket No. 35 ¶ 10.
Furthermore, Merritt plausibly alleges that Wells Fargo had an intent to discriminate
based on race. The SAC alleges that Plaintiffs detected “implicit signals of racial
discrimination” based on Rodriguez’s facial expression, body language, tone, language,
and attitude. Id. ¶ 22. Moreover, the SAC alleges that Rodriguez called Mitchell a
“nigger,” which is a direct allegation of racial animus. Id. ¶ 25. Taken as true as required
at the pleading stage, these allegations support the plausible inference that Wells Fargo
had an intent to discriminate based on race. See Nat’l Ass’n of African Am.-Owned
Media v. Charter Communications, Inc., 915 F.3d 617, 626 (9th Cir. 2019) (“If
discriminatory intent plays any role in a defendant’s decision not to contract with a
plaintiff, even if it merely one factor and not the sole cause of the decision, then the
plaintiff has not enjoyed the same right as a white citizen.”) (emphasis in original).

       Wells Fargo argues that, applying Charter, Plaintiffs’ allegations are inadequate to
support a viable section 1981 claim because they have not supplemented their claim by
alleging specific instances where Wells Fargo contracted with similarly situated white
counterparts. MTD, Docket No. 36-1 at 13. However, the Ninth Circuit in Charter only
looked to the plaintiff’s argument that “white-owned companies were treated similarly”
due to the absence of direct evidence of racial animus. Charter, 915 F.3d at 626–27. That
is not the case here. Accordingly, the second element of Merritt’s section 1981 claim has
been met.

       Lastly, Merritt alleges that “Rodriguez refused to properly and fully complete the
loan application process” and that “Wells Fargo refused to fully consider [Merritt’s] loan
request based upon the color of his skin.” SAC, Docket No. 35 ¶ 27. Therefore, Merritt
satisfies the third element of a section 1981 claim because the alleged discrimination
concerned “the making or enforcing of a contract,” which in this case was the loan
Merritt was refused.

         Because the SAC plausibly establishes all three elements of a section 1981 claim,
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Wells Fargo’s motion to dismiss this claim is denied.

B.       Unruh Civil Rights Act - Cal. Civ. Code § 51

       Plaintiffs allege that Wells Fargo violated section 52 of the California Unruh Civil
Rights Act, as Wells Fargo’s conduct constituted discrimination of Mitchell and Merritt
on the basis of race. SAC, Docket No. 35 ¶¶ 59–66. However, as Wells Fargo correctly
notes, Plaintiffs’ Unruh claim is procedurally improper because it was added to the SAC
without first seeking leave of the Court. When the Court ruled on Well Fargo’s prior
motion to dismiss, it specifically granted Plaintiffs’ “leave to amend and replead their
claims to address the deficiencies identified in [the] order.” Order, Docket No. 34 at 16.

         Accordingly, the Court grants Wells Fargo’s motion to dismiss the Unruh claim.1

C.       Defamation and Defamation Per Se

       Plaintiffs’ final two causes of action are for defamation by Merritt and defamation
per se by Mitchell. SAC, Docket No. 14 ¶¶ 49–58. To state a claim for defamation,
Plaintiffs must allege that Wells Fargo (1) intentionally (2) published a statement of fact
(3) that is false (4) unprivileged, and (5) has a natural tendency to injure (libel per se) or
cause special damages. Smith v. Maldonado, 72 Cal. App. 4th 637, 645–46 (1999). “A
libel which is defamatory of the plaintiff without the necessity of explanatory matter,
such an inducement, innuendo, or other extrinsic fact, is said to be libel on its face.” Cal.
Civ. Code § 45a.

       Here, Mitchell alleges that Rodriguez falsely accused her of abusing her son and
attempting to commit fraud by trying to open an account in her own name. SAC, Docket
No. 35 ¶¶ 49–51. Merritt alleges that Rodriguez falsely stated that he was incompetent
and was incapable of knowing why he was at the bank. Id. ¶ 54–56. Plaintiffs allege that
these false statements were heard by Plaintiffs themselves, members of law enforcement,
and other customers in Rodriguez’s proximity, and that the statements were made with
malice and intent to injure. Id. ¶¶ 50, 55.


         1
         If Plaintiffs wish to add the Unruh claim as one of their causes of action, they must seek the
Court’s leave pursuant to Federal Rule of Civil Procedure 15(a).
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      Wells Fargo argues that Plaintiffs’ defamation claims fail because the SAC does
not adequately allege additional facts establishing malice. MTD, Docket No. 36-1 at 18.
According to Wells Fargo, the SAC shows that Rodriguez had objective grounds to
suspect financial abuse of a depended adult. Id.

       Malice may be established by showing that the publisher of a defamatory statement
lacked reasonable grounds to believe the statement was true, and
therefore acted with a reckless disregard for the rights of the person defamed. Cuenca v.
Safeway San Francisco Employees Fed. Credit Union, 180 Cal. App. 3d 985, 997 (1986).
Negligence is not malice. Cabanas v. Gloodt Associates, 942 F. Supp. 1295, 1301 (E.D.
Cal. 1996). Thus, “[i]t is not sufficient to show that the statements . . . were inaccurate, or
even unreasonable. Only willful falsity or recklessness will suffice.” Id. at 1301–02
(internal quotations and citation omitted).

       Here, the SAC alleges that Plaintiffs had previously visited the Cerritos Branch on
two separate occasions, where they were helped by Joseph. SAC, Docket No. 35 ¶ 17. On
both occasions, Merritt accompanied her son, Mitchell, to assist him and spare him the
embarrassment and inconvenience of discussing his banking needs without her
assistance. Id. ¶ 19. On their third visit, Plaintiffs were introduced to Rodriguez after
Joseph stepped out of the branch. Id. ¶ 21. Despite knowing, after Joseph’s introduction,
that Plaintiffs were Wells Fargo customers, Rodriguez initiated their interaction with an
attitude and manner reflecting hostility, impatience, intolerance, and distrust. Id. ¶ 22.
Although Mitchell did not explain why she would speak on Merritt’s behalf, Merritt did
answer questions posed by Rodriguez. Id. ¶ 24. Due to the allegations that Rodriguez
knew Plaintiffs were returning customers and Merritt’s willingness to communicate
despite his speech impediment, Rodriguez lacked reasonable grounds to believe her
accusations of abuse, attempted fraud, and incompetence to be true.

       In addition, Rodriguez repeatedly interrupted Mitchell, jabbed her fingers in
Mitchell’s face, and sneered at her. Id. Given the these allegations and the circumstances
of the interaction, Plaintiffs have alleged sufficient facts to show malice, as malice is “a
state of mind arising from hatred or ill will, evidencing a willingness to vex, annoy, or
injure another person.” SDV/ACCI, Inc. v. AT & T Corp., 522 F.3d 955, 962 (9th Cir.
2008) (quoting Cabanas v. Gloodt Assocs., 942 F.Supp. 1295, 1301 n.7 (E.D. Cal.
1996)).

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     Therefore, Wells Fargo’s motion to dismiss the defamation claim and the
defamation per se claim is denied.

                                        IV. CONCLUSION

      For the foregoing reasons, the Court grants in part and denies in part the motion
to dismiss.

                 IT IS SO ORDERED.




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                                                        Initials of Preparer      lmb




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